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                                                     Monday, 03 August, 2020 05:08:08 PM
                                                             Clerk, U.S. District Court, ILCD

           IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS
                   SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,               )
                                        )
                Plaintiff,              )
                                        )
     v.                                 )       Case No. 18-cr-30045
                                        )
KEITH MELVIN,                           )
                                        )
                Defendant.              )

                                OPINION

SUE E. MYERSCOUGH, U.S. District Judge:

     Before the Court is Defendant Keith Melvin’s Amended Motion

for Compassionate Release (d/e 38) requesting a reduction in his

term of imprisonment pursuant to 18 U.S.C. § 3582(c)(1)(A). For

the reasons set forth below, the motion is DENIED.

                             I. BACKGROUND

     On October 31, 2018, Defendant pled guilty to possessing with

the intent to distribute 50 grams or more of methamphetamine in

violation of 21 U.S.C. § 841(a)(1). On March 4, 2019, the Court

sentenced Defendant to 180 months’ imprisonment and 10 years of

supervised release.

     Defendant is currently incarcerated at FCI Big Spring and has


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a projected release date of April 29, 2031. As of August 3, 2020,

the Bureau of Prisons (BOP) reports that, although six staff

members at FCI Big Spring currently have COVID-19, none of the

inmates at the facility currently have the disease. See BOP: COVID-

19 Update, Federal Bureau of Prisons, https://www.bop.gov/

coronavirus/ (last accessed August 3, 2020).

     On July 15, 2020, Defendant filed a pro se motion for

compassionate release (d/e 36) pursuant to 18 U.S.C. §

3582(c)(1)(A). Attached to this motion is Defendant’s written

request to the BOP for compassionate release, which was denied on

May 27, 2020.

     On July 17, 2020, following the appointment of the Federal

Public Defender’s Office to represent Defendant, an Amended

Motion for Compassionate Release was filed. Defendant, who is 60

years old, requests compassionate release based on his

hypertension and the COVID-19 pandemic. Defendant notes that

he was hospitalized in 2018 due to problems with his hypertension.

Defendant has completed educational and vocational programming

while in BOP custody, has been assigned a low security level by the

BOP, and has not been disciplined by the BOP since being


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incarcerated for his instant offense.

     Defendant proposes to live with his mother if released from

custody. The United States Probation Office, in a Memorandum

(d/e 41) addressing Defendant’s request for compassionate release,

concludes that Defendant’s mother’s house is a suitable residence

for Defendant.

     On July 20, 2020, the Government filed a Response Opposing

Defendant’s Motion for Compassionate Release (d/e 39). The

Government argues that Defendant’s request for compassionate

release should be denied because Defendant’s hypertension appears

to be under control and because none of the inmates in FCI Big

Spring currently suffer from COVID-19.

                            II. ANALYSIS

     As a general matter, the Court is statutorily prohibited from

modifying a term of imprisonment once it has been imposed. See

18 U.S.C. § 3582(c). However, several statutory exceptions exist,

one of which allows the Court to grant a defendant compassionate

release if certain requirements are met. See 18 U.S.C. §

3582(c)(1)(A).

     Section 603(b)(1) of the First Step Act amended the statutory


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language at 18 U.S.C. § 3582(c)(1)(A). See First Step Act of 2018,

Pub. L. No. 115-391, 132 Stat 5194. Prior to the First Step Act, the

Court could grant a defendant compassionate release only if the

Director of the BOP filed a motion seeking that relief. With the

enactment of the First Step Act, 18 U.S.C. § 3582(c)(1)(A) now

allows an inmate to file with the Court a motion for compassionate

release, but only after exhausting administrative review of a BOP

denial of the inmate’s request for BOP to file a motion or waiting 30

days from when the inmate’s request was received by the BOP,

whichever is earlier. The statute now provides as follows:

     The court, upon motion of the Director of the Bureau of
     Prisons, or upon motion of the defendant after the
     defendant has fully exhausted all administrative rights to
     appeal a failure of the Bureau of Prisons to bring a
     motion on the defendant’s behalf or the lapse of 30 days
     from the receipt of such a request by the warden of the
     defendant’s facility, whichever is earlier, may reduce the
     term of imprisonment (and may impose a term of
     probation or supervised release with or without
     conditions that does not exceed the unserved portion of
     the original term of imprisonment), after considering the
     factors set forth in section 3553(a) to the extent that they
     are applicable, if it finds that—

     (i) extraordinary and compelling reasons warrant such a
     reduction . . . and that such a reduction is consistent
     with applicable policy statements issued by the
     Sentencing Commission.



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18 U.S.C. § 3582(c)(1)(A).

     Having considered the relevant factors set forth in 18 U.S.C. §

3553(a), the Court concludes that Defendant has not established

that extraordinary and compelling reasons warrant a reduction in

his term of imprisonment. The spread of COVID-19 has presented

extraordinary and unprecedented challenges for the country and

poses a serious issue for prisons. Due to the infectious nature of

the virus, the Centers for Disease Control and Prevention (CDC) and

state governments have advised individuals to practice good

hygiene, social distancing, and isolation. Social distancing can be

difficult for individuals living in a prison.

     However, Defendant’s current circumstances do not warrant a

reduction in his term of imprisonment. Defendant is 60 years old,

which places him at greater risk of severe illness from COVID-19

than someone who is younger than 60. See Older Adults and

COVID-19, Centers for Disease Control and Prevention,

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/older-adults.html (last accessed August 3, 2020).

     In addition, Defendant suffers from hypertension. The CDC

has taken the position that hypertension may increase the risk that


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COVID-19 poses to an individual. Certain Medical Conditions and

Risk for Severe COVID-19 Illness, Centers for Disease Control and

Prevention, https://www.cdc.gov/coronavirus/2019-ncov/need-

extra-precautions/people-with-medical-conditions.html (last

accessed August 3, 2020). However, the CDC, at this time, does not

consider a person whose only underlying medical condition is

hypertension to be at higher risk for severe illness from COVID-19.

Clinical Questions About COVID-19: Questions and Answers,

Centers for Disease Control and Prevention, https://www.cdc.gov/

coronavirus/2019-ncov/faq.html (last accessed August 3, 2020).

     Further, although six staff members at FCI Big Spring are

currently suffering from COVID-19, none of the inmates at the

facility currently have the disease. And Defendant still has over 10

years to serve in BOP custody before he is set to be released. The

Court, taking all the relevant facts into account, finds that

Defendant has not established that there exist extraordinary and

compelling reasons that warrant a reduction in his term of

imprisonment.

                          III. CONCLUSION

     For the reasons set forth above, Defendant Keith Melvin’s


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Amended Motion for Compassionate Release (d/e 38) and

Defendant’s pro se motion for compassionate release (d/e 36) are

DENIED.



ENTER: August 3, 2020

                                  /s/ Sue E. Myerscough
                                  SUE E. MYERSCOUGH
                                  UNITED STATES DISTRICT JUDGE




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